
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a3767-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a3737-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3267-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3765-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3767-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3766-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
